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`Wesley W. Hoyt, ISB #4590
HC 66, Box 313 A

Kooskis, lD 83539

Tel: (208) 926-7553

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Fax: (208) 926-7554 tit fish \r):.nn
Attomey for Defends.nt
UNITED STATES DISTRICT COURT
FDR THE DIS'I`R_ICT DF IDAHO
UNITED STA'I`ES OF AMER]CA, g Csse No.: CR.-D4-0127-C-RCT
plaintiff ) DEFENDANT’S OPPGSITION TO
vs_ ) oovERNMENT’s MO'I'ION To FILE A
l sUFPLEMENTAL suaMlssIoN RE:
DAVID R__ H[NKS()N, § DEFENDANT'S MOTION TO SUP'PRESS
) ALLEGED CONFESSION
Defendant )

 

CDMES NDW defendant, David R.. Hinkson, and objects to the Govermnent’s Motion

for Leave to File s Supplcmental Submislion Regarding Defendant’s Motion to Suppress

Defendant's Alleged Confession, served on Defendaut’s counsel on December 14, 2004 which

encompasses a partial transcript of a conversation between defendant and government infonnant

J.C. Harding, captured on a body-wire dated March 2?, 2003.

The government’s “Supplcmcntal Submission,“ in effect, seeks to reopen the evidentiary

hearing on Mr_ Hinkson's Motion to Supprcss Defendant’s Alleged Confession conducted by

this Court on December 7, 2004. At that hearing, Agent Williarn Long testified ccnceming the

circumstances of Mr. Hinkson's April 4, 2003 arrest and the interrogation that followed At the

conclusion of Agent Long’s testimony, the government indicated that it had no additional

questions for the agent, no additional witnesses and no additional evidence 'I'he evidentiary

portion of said hearing was concluded and counsel engaged in detailed argument based upon the

facts as presented

DEFENDANT’S DFPDSI'HON 'i`O GOVERNMENT'S MDTION TO FILE A SUPFLEMENTAL

SUBMlB'BIDN RE DEFENDANT'S MOTION TO SUPRESS ALLEGED CC|NFESSI|`.`JN

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The governrnent’s “Supplemental Subrnission,“ is not in the form of a motion to re-open
the evidentiary hearing, nor does it attempt to justify re-opeuing said hearing, it simply seeks to

augment the record with hearsay that has not been proven in the crucible of cross examination

 

The time for submission of evidence passed at the conclusion of said hearing and if the
government failed to inquire of Agent Long about some aspect of the case it now considers
important, the proper method is to apply to the Court to re-open the evidentiary hearing based
upon stated legal grounds, giving defendant the opportunity to respond Short of a motion to re-
open, the government’s “Supplemental Submission” is an attempt to make a procedural end-run_

Further, it would not be proper to consider the goverrunent’s “Supplemental Submission"
as a substitute for a motion to re-open, merely because the government submitted s partial
transcript of the March 27, 2003 body-wire, as it relates to an out-of-court conversation between
defendant and a third-party witness (J.C. I-larding) without first permitting defendant the
opportunity to cross-examine said witness as to that conversation and to cross Agent Long
regarding the relevance, if any, said conversation had to the April 4, 2003 arrest of Mr. Hinkson.
Thus, the motion to consider the govemment's “Supplerncntal Subrnission“ should be denied

However, if this Court is inclined to permit the government to te-open said hearing, then
upon s proper motion, response from defendant and a finding of good cause shown, it is
requested that the Cotu't set a hearing for the purpose of taking additional evidence and allowing
defetldant hill cross-examination of both Agent Long and J.C. Harding. Crawford v. Woshington,
_ U.S. _, _ S.Ct.___, (March B, 2004}_ Additionally, if the government believed that Marianna
Raff was a focus of Agent Long`s investigation on April 4, 2003, the Governrnent should
produce her for testimony at the time of the follow-up hesring.

In all events, the govemment's reliance upon Oregon v. Brad.rhmv, 462 U.S. 1039 (1983)

DEFENDANT’S OPPOSITlDN TO GOVERNMENT’S MOTlON TO FILE A SUFFLEMENTAL
SUBMISS|DN R.E DEFENDA‘NT'S MOTIDN TO SUFR.E`.SS ALLEGED CONFESSION Fsge 2 of4

 

 

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is misplaced The Bra'dshow case is not relevant to judging the question of a post-hearing
submission of evidence from the transcript of an out-of-court conversation not made a part of the
record. Nor is Bradshaw authority for the question whether the Government should be permitted
to re-open the hearing.

ln Bradrhmv, the defendant was arrested for vehicular manslaughter. The Supreme Court
held that defendant’s actions (on the day after his first Mirando rights advisement) in signing a
written Mirondo waiver and then discussing a different incident about which he had previously
been questioned, evinced a willingness to discuss the incident under investigation The
distinction here is that Mr. l-Iinkson had not previously been “questioned“ by Agent Long about
Raff, rather, Hinkson was the one making the criminal complaint about her activities to the idaho
County Sherifi’s Oftice, a separate law enforcement agency.

The evidence produced at the evidentiary hearing in this case demonstrated that Mr.
Hinltson came voluntarily to the sheriil"s sub-station at the initiation of a deputy of the ldalio
County Sheriff's Oft`ice to aid Mr. Hinkson in making a criminal complaint about the theft of
money by Ms. R.aff. The testimony from Agent Long was thatJ after his arrest, Mr. Hinkson
immediately started talking to Agent Long about Ms. Raft`, not about the governmental ofi'icials,
or their children who were the alleged victims of threats or solicitation of murder. According to
Agent Long’a testimoay, it was only after Long aimed the questioning to the allegations of
threats against federal officers that Mr. Hinlcson made statements about these government
officials

The facts of this case are distinguishable from those in Bradshaw because Mr. Hinltson’s
initial statements about Ms. RaH Were not related to the investigation of threats against

government officials but rather, were related to another matter riot under investigation by Agerit

DEFENDANT‘S DPPOSITION TO GOVERNMENT’.S MO'I`ION TD FILE A SUPPLEME.NTAL
SUBMISSIGN R.E DEFENDANT’S MUTIDN TC) SUFRESS ALLEGED CONFESSION Page 3 of 4

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Long. Thus, defendant's post arrest statements about Ms. R.aff did not evince a willingness by
Mr. Hinltson to talk about the charge of threats against government officials To accord
evidentiary significance to the partial transcript cited by the government in reference to
defendant's arrest without allowing him the opportunity for cross examination violates basic
notions of Constitutional due process and his right to confront his accusers. Crowford, supra.

For these reasons, the Govemment`s Motion to File a Supplamental Submission should
be denied, or in the alternative, this Court should set a date to re-open the evidentiary hearing
with cross-examination of all witness permitted

R.espectfully submitted this lb% of December, 2004.

Wesley oyt

CERTIFICATE DF SER`VICE

l certify that, on this Z é day of December, 2004 l have served a true and correct copy of the .
forgoing DEFENDAN ’S OPPOSITIDN TO GOVERNMENT'S MOTION TO FILE A
SUPPLEMENTAL SUBMISSIDN RE: DEFENDANT’S MOTION TO SUPPRESS ALLBGED
CGNFESSION upon the persons named below by the method so indicated:

Michacl P. Sullivan (__) U. S. Mail, l“ class postage paid

Michael D. 'I'axay (_) U. S. Certified mail, postage paid
United Sates Department of .Tustice (__) Federal Ertpress

950 Pcnn. Ave., NW Hal‘lt_l D_Bllv¢l'y

Washingmn_ DC 20539 Facsimile: 202-5l4-B714

The I-Ion. Richard Tallman U. S. Mail, l“ class postage paid

United States Courthouse U. S. Certilied mail, postage paid
1200 tim Avenue L_) Ff-'d¢l'i| EXPI'ESS

21st Flom_ (_) Harid Deliver'y

hamm wA palm ()() Facsimile: 206-553-6306

 

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SUBMlESlDN RE DEFENDAN'I“S MDTION TD SUPRESS ALLEGED CCNFESS|DN Fage 4 of4

 

 

